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             EXHIBIT B
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Reg. No. 5,567,901            Supercell Oy (FINLAND private limited company )
                              Itämerenkatu 11
Registered Sep. 25, 2018      Fi-00180 Helsinki
                              FINLAND
Int. Cl.: 6, 9, 16, 18, 20,   CLASS 6: chains of common metal; statuettes of common metal; non-electric locks of metal;
21, 25, 26, 28, 41            trophies of common metal; nameplates of common metal; split rings of common metal for
                              keys
Service Mark                  CLASS 9: computer game software; downloadable computer game software; data storage
                              media, namely, black CDs, blank DVDs; computer game software adapted for use with
Trademark                     television receivers; pre-recorded motion picture and television films about video games and
                              the settings and characters thereof; motion picture films featuring animation; bags, cases and
Principal Register            sleeves specially adapted for storing and carrying telephones, computers, headphones and
                              cameras; covers for mobile phones, portable computers and tablets; headphones;
                              downloadable electronic publications, namely, books, magazines and newsletters in the field
                              of computer games, computer game characters and electronic sports; decorative magnets; data
                              storage media in the nature of blank USB flash drives; straps for cameras; straps for
                              telephones; straps specially adapted for headphones; straps for computer bags; electric power
                              distribution units

                              CLASS 16: Paper and cardboard; comic books; newspapers, photographs, magazines and
                              books relating to computer games, computer game characters and electronic sports; printed
                              periodicals, newsletters and brochures in the field of computer games, computer game
                              characters and electronic sports; computer game instruction manuals; writing paper and
                              envelopes; calendars; bookmarks; notebook and calendar covers; packing paper, wrapping
                              paper and packaging materials made of recycled paper; cardboard boxes; party decorations
                              made of paper; pens, erasers; posters, paper banners; figures made of paper; paper bags;
                              sticker albums, stickers; greeting cards; post cards; collectable trading cards; sports trading
                              cards; trading cards, other than for games; printed paper signs

                              CLASS 18: Bags, namely beach bags; all purpose sport bags; carry-all bags; leather bags,
                              suitcases and wallets; shoulder bags; textile shopping bags; hand bags; luggage bags; school
                              bags

                              CLASS 20: Furniture; sculptures made from plastic; mobiles being decorative articles;
                              storage boxes made of wood; decorative wooden objects, namely centerpieces; trophies of
                              plastic; nameplates, not of metal; figures made of plastics

                              CLASS 21: Household or kitchen utensils, namely, rolling pins, spatulas, turners, scoops, and
                              whisks; household or kitchen containers; mugs; bottles sold empty and vacuum bottles;
                              statues of china or glass; beverage glassware; candlesticks; candle rings; works of art made of
                              glass; coupes and vases; works of art, of porcelain, terra-cotta or glass

                              CLASS 25: Footwear; headgear, namely, caps and hats; T-shirts, sweat shirts, shirts, blouses,
                              vests; jeans, pants, shorts; underwear, sportswear, namely, sport t-shirts; socks; coats, jackets,
                              suits; skirts; scarves; gloves, mittens; bathing suits, pajamas, negligee robes, bathrobes; sports
                              caps and hats

                              CLASS 26: Lace and embroidery, ribbons and braid; buttons, hooks and eyes, needles;




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                 barrettes, hair pins, and hair ties; hat pins; button badges and pins; trimmings for clothing;
                 shoe trimmings, not of precious metal; brassards; belt buckles

                 CLASS 28: Electronic games, namely, handheld game consoles; hand-held units for playing
                 electronic games; action skill games; action figures toys; board games; game cards; play sets
                 for action figures; game cards and playing cards; soft dolls; plush toys; stuffed toys, water
                 toys; wooden toys in the nature of wooden cars; toy cars made of plastics; children's multiple
                 activity toys; puzzles; balloons; bags, cases and sleeves specially adapted for storing and
                 carrying electronic game playing apparatus

                 CLASS 41: Electronic game services provided by means of a global communication network;
                 providing on-line computer games; on-line gaming services; providing on-line computer
                 games, multi-player video game matching services, and on-line entertainment in the nature of
                 video game tournaments, cyber or virtual sports leagues and game shows; providing
                 information on-line relating to computer games; provision of online non-downloadable games
                 by means of a computer based systems; providing online non-downloadable interactive social
                 games in a virtual environment; providing entertainment information relating to computer
                 games via information network; entertainment services, namely, providing a website featuring
                 non-downloadable games and computer games; organizing community sporting and cultural
                 events and conferences in the field of computer games for entertainment purposes; providing
                 on-line publications in the nature of books, magazines, and newsletters in the field of
                 computer games, computer game characters and electronic sports; presentation of movies,
                 films, animated movies, and television programs featuring computer game characters;
                 entertainment services in the nature of creation, development, and production of movies,
                 films, animations, and television programs; organizing social entertainment events and
                 conferences for entertainment purposes in the field of computer games; organizing of sports
                 and electronic sports competitions; providing entertainment information relating to computer
                 games via a web site; providing online non-downloadable computer games and gaming
                 services through an internet website portal; organizing and conducting video and computer
                 game matches and tournaments; organizing of electronic sports events

                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                 PARTICULAR FONT STYLE, SIZE OR COLOR

                 PRIORITY DATE OF 05-18-2017 IS CLAIMED

                 OWNER OF INTERNATIONAL REGISTRATION 1401020 DATED 11-07-2017,
                 EXPIRES 11-07-2027

                 SER. NO. 79-231,760, FILED 11-07-2017




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Reg. No. 6,914,997            Supercell Oy (FINLAND LIMITED LIABILITY COMPANY)
                              Jätkäsaarenlaituri 1
Registered Dec. 06, 2022      FI-00180 HELSINKI
Int. Cl.: 9, 16, 25, 28, 41   FINLAND
                              CLASS 9: Recorded computer game software; downloadable computer game software;
Service Mark                  computer game software adapted for use with television receivers; pre-recorded motion
Trademark                     picture, television, and animation films about video games and the settings and
                              characters thereof recorded on electronic media; bags, cases and sleeves specially
Principal Register            adapted for storing and carrying telephones, computers, headphones and cameras;
                              covers specially adapted for mobile phones, portable computers and tablet computers;
                              headphones; downloadable electronic publications, in the nature of books, magazines
                              and newsletters in the field of computer games, computer game characters and
                              electronic sports; belts and straps specially adapted for holding telephones, headphones
                              and cameras; electrical power distribution units; all the aforementioned goods relating to
                              computer games and computer game characters

                              CLASS 16: Paper and cardboard; printed comic books; printed matter, namely,
                              newspapers, photographs, magazines and books in the field of computer games,
                              computer game characters and electronic sports; printed computer game instruction
                              manuals; writing paper and envelopes; printed calendars; bookmarks; notebook and
                              calendar covers; packing paper, wrapping paper and packaging materials of paper;
                              cardboard boxes; party decorations made of paper; pens, erasers; posters made of paper,
                              paper banners; figures made of paper; paper bags; stickers and sticker albums; printed
                              matter, namely, greeting cards, post cards, collectible cards being printed collector cards
                              made primarily of paper and also including metal, sports trading cards, and collectible
                              printed trading cards; paper signs; all the aforementioned goods relating to computer
                              games and computer game characters

                              CLASS 25: Footwear, headwear; T-shirts, sweatshirts, shirts, blouses, vests; jeans,
                              pants, shorts; underwear; sportswear, namely, uniforms, sport coats, shirts, socks, sports
                              caps, hats, and jackets; socks; coats, jackets, suits; skirts; scarves; gloves, mittens;
                              bathing suits, pajamas, negligee robes, bathrobes; headwear, namely, caps and hats; all
                              the aforementioned goods relating to computer games and computer game characters

                              CLASS 28: Electronic games, namely, arcade-type electronic video games, non-coin
                              operated electronic games other than those adapted for use with television receivers
                              only; hand-held units for playing electronic games; action skill games; toy action
                              figures; board games; game cards; play sets for action figures; game cards and playing
                              cards; soft sculpture dolls; plush toys; stuffed toys, water toys, wooden toys, namely,
                              wooden toy model cars; toys made of plastics, namely, plastic character toys; children's
                              multiple activity toys; puzzles; bags, cases and sleeves specially adapted for storing and
                              carrying apparatus for games in the nature of handheld units for playing computer




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                   games, joysticks for video games and computer games, and video game consoles; all the
                   aforementioned goods relating to computer games and computer game characters

                   CLASS 41: Electronic game entertainment services, namely, providing online computer
                   and electronic games, enhancements within online computer games and applications
                   within online computer games, and providing virtual environments in which users can
                   interact through online non-downloadable social games for recreational, leisure or
                   entertainment purposes; providing on-line computer games; entertainment services,
                   namely, providing online computer games, multi-player video game matching services
                   in the nature of organization of electronic game competitions, and providing online
                   entertainment in the nature of conducting online computer game tournaments, cyber or
                   virtual electronic sports leagues and ongoing game shows; providing information on-
                   line relating to computer games; provision of games by means of a computer based
                   systems, namely, providing on-line computer games; providing interactive social games
                   in a virtual environment, namely, providing on-line computer games; providing
                   entertainment information relating to computer games via information network;
                   entertainment services, namely, development, production and post-production services
                   in the fields of video and films, providing online computer and electronic games,
                   enhancements within online computer games, and applications within online computer
                   games, and providing virtual environments in which users can interact through online
                   non-downloadable social games for recreational, leisure or entertainment purposes, and
                   providing on-line entertainment in the nature of conducting online video game
                   tournaments, cyber or virtual fantasy sports leagues and production and distribution of
                   games shows; providing online non-downloadable electronic publications in the nature
                   of books, magazines and newsletters in the field of computer games, computer game
                   characters and electronic sports; presentation in the nature of production and distribution
                   of movies, films, animations, and television programs; entertainment services in the
                   nature of creation, development, and production of movies, films, animations, and
                   television programs; entertainment services in the nature of organising social events and
                   conferences for entertainment purposes in the field of video and computer games,
                   gaming; organising of competitions, namely, organization of e-sports competitions,
                   organization of electronic game competitions; providing computer games and gaming
                   services through an internet website portal, namely, providing online non-downloadable
                   game software, virtual reality game services provided online from a computer network,
                   and providing online computer games; entertainment services, namely, organising and
                   conducting video and computer game matches and tournaments; organising of
                   electronic sports events, namely, organization of electronic sports competitions; all the
                   aforementioned goods relating to computer games and computer game characters

                   THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                   ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                   PRIORITY DATE OF 05-19-2021 IS CLAIMED

                   OWNER OF INTERNATIONAL REGISTRATION 1631864 DATED 10-12-2021,
                   EXPIRES 10-12-2031

                   SER. NO. 79-327,942, FILED 10-12-2021




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